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EXHIBIT A

Case 2:17-cV-05842-N|QA Document 22-1 Filed 06/15/18 Page 2 of 8

U.S. EQUAL EMPLOYMENT OPFORTUNITY COMM|SSION

NoTrcE or= RieHT To SuE (lssqu oN REQuEsr)

From: Phliodelphia District Offloe
801 Market Street
Suite 1300
Philadelphia, PA 19107

EEOC FM“181I(11HG)

 

To: Klmberly Lyons
3806 Bensalom Blvd
Bensa|em, PA19020

On behalf ofperson(s} aggrieved whose identify is
OONFIDEN TiAL (29 CFR §1601.7(a))

EEOC Charge No. EEOC Representailve Telephone No.

(21 5) 440-2328

530-2017-02915 Legal Unlt
(See also the additional information enclosed with this form.)_

NoncE re ma PsnsoN Aeearevso:
Title Vll of the Civil Rights Act of 1964, the Amerioens with Disahilities Act (ADA), or the Ganetir: information Nondiscriminatlon
Act (GiNA): This is your Notlce of~Right to Sue. issued under Tltie \!lll the ADA or G|NA based on the above-numbered charge. it has
been Issuecl at your request. ¥our lawsuit under Tltle Vil, the ADA or GlNA must be filed in a federal or state court WlTl-llN 90 DAYS
of your receipt of this notloe: or your right to sue based on this charge will be lost. (The time i|m|t for filing suit based on a claim under

stale law may be different.)
|::| More than 180 days have passed since the h|lng of this charge.

|_X__] Less than 180 days have passed since the filing ofthis charge. but l have determined that il is unlikely that the EEOC will
be able to complete its administrative processing within 180 days from the filing of this charge.

E The EEOC is terminating its processing of this charge.

[::|` The EEoc will continue to process this charge
Age Dlscrlmlnatlon in Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed until
90 days after you receive notice that we have completed action on the charge. |n this regard. the paragraph marked below applies to

your case:
|:l The EEOC is closing your oase. 'i'herefore, your lawsuit under the ADEA must be filed in federal or state court W!_'l_'i~i|N
90 DAYS cf your receipt of this Notloe. Otherwise. your right to sue based on the above-numbered charge will be lost.

 

l:l The EEOC is continuing its handling of your ADEA clse. However, if 60 days have passed since lhe filing of the charge,
you may tile s'uit in federal or state court under the ADEA at this time.

Equal Paont (EPA): You already have the right to sue under the EPA (iiiing an EEOC charge is not required.) EPA suits must be brought
in federal or state court within 2 years (3 years for willful violetions) of the alleged EPA underpayment This means that backpay due for
any violations that occurred more than 2 ygars (3 years} before you file suit may not be collectible

|f you tile sult, based on this charge. please send a copy of your court complaint to this oflioe.

On behalf of the Commission

  

April 26, 2018
male Malisd)

 

 

Enclosures(s) mie R. Williamson,

Dlstriot Director

°°= Lrnda ensure cary scharkopf, esq.
Senior Legal Asslstant Supervisor SCHAFKOPF LAW
PHlLADELPHlA LAW DEPT 11 Bala Averruo
1515 Arl:h St, 16th Flr Ba|a Cynwyd, PA 19004

Phiiadelph|l, PA 19102

 

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U.S. EQuAL EMPLOVMENT OPPoRTuNiTY CoMMrssloN

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From Phi|ade|phla Drstnct Oftice
6803 Horro_cks Street 301 Market Street
Phi|adelphla, PA 1014':'| Sulte 1300
Philadelphla, PA 1 9107

EEOC Forr- 161-author

On behalf ofperson(s) aggrieved whose identify is
CONFiDENTlAL (29 CFR §1601 Yral)

EEOC chresentauve Teiephane No
chai Unlt,

Legal Techni¢:lan (215) 440-2828

EEOC Charge No

530-2018~03700
{See also the additional information enclosed with this form )

NcncE To ma PERSoN AoGRlEvED:
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Act (GlNA): This is your Nolice of nghl to Sue, issued under Title \'|l. the ADA or GlNA based on the above-numbered cl~iarge, lt has
been issued at your request Your lawsuit under Tille Vll. the ADA or GINA must be filed in a federal or state court WlT |N 0 DAYS
of your receipt of this notice‘ or your right to sue based on this charge will be lost (The lime limit for hung suit based on a claim under
stale law may be different )

More than 180 days have passed since the filing of this charge

Less than 180 days have passed since the filing of this charge but l have determined that it is unlikely that the EEOC will

be able to complete its administrative processing within 180 days from the filing of this charge

The EEOC is terminating its processing of this charge

The EEOC will continue to process this charge
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0n behalf of the Comrnisslon

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E"°'°s°'°s(s) mle R. Williamson,
District Director

Linda Busil|o
Sr. Legai Asaistant Supervisor
CITY OF PH|LADELPH|A POLlCE DEPARTMENT

 

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EXHIBIT B

Case 2:17-cV-05842-N|QA Document 22-1 Filed 06/15/18 Page 5 of 8

EEOC FOl'm 5 (5/01)

 

CHARGE oF DiscRiMiNATioN charge Presenied To: Agency<iesi charge Nois):

Th|s form ls affected by the Piivscy Act of 1974. See enclosed Frlvacy Act m FEPA
Statement and other information before completing this fomii.

 

 

 

 

 

 

 

PENNSYLVAN|A HUMAN RELAT|ONS COMM|SS|ON and EEOC
Stala or local Agency, if any
Name (indi`cate Mr.l Ms., Mrs.) Home Phone (lncl. Area Codo) Date of Biith
Ms. Crysta| Carter 267_228_7529 04/08/1969
Street Address City. Stale and Z|P Cods
6803 N Horrocks Sl. Phi|ade|phia, PA 19149

 

Named is the Employerl Labor Organizalion, Employment Agencyl Apprentlceshlp Commlttee, or State or Loca| Govemment Agency That l Be|ieva
Discriminated Against Me or Others. {lf more than two, list under PARTICULARS below.)

 

Name No. Employees, Msmbers Phone No. (Inc!ude Araa Coda)

C|TY OF PH|LADELPHIA
dlb/a PH|LADELPH|A POLICE 101-200 215-686-3390

 

 

 

Street Ai:|dress Clty, Slate and ZlP Code

1515 Arch St. 16th FL Phi|ade|phia, PA 19102

 

Name No. Eriiployees. Membeis Phone No. (tnclude Area Code)

 

 

 

Street Address City, State and Z|P Code

 

D|SCR|M|NATION BASED ON {Check appropriate box(es).) DATE(S) D|SCR|M|NAT|ON TOOK PLACE

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CONT|NU|NG ACTlON

 

 

THE PARTICULARS ARE (If additional paper is needed, attach extra sheet(s)):

A. Employment History and HarassmentlDiscriminatloanetal|ation

C|aimant, Crystal Carter is a female African American adult individual who is a

Po|ice Officer assigned to the 39th District and resides in the Commonwealth of Pennsy|vania. C|aimant has been
a Po|ice ocher with the PPD for 18 years or more and at all times relevant, has performed her duties of
employment in a satisfactory manner. Prior to C|aimant's involuntary transfer to be explained infra, Claimants had
been a long-sewing School Liaison Off"icer (the assignment is referred to hereinafter “Schoo| Liaison”) which is an
assignment where C|aimant is required to be present in and around various schools in the Phi|ade|phia School
District that are located in the 39th District. As a School Liaison, C|aimant has been held in high regard by
schools, principa|, students, superiors and fellow officers for successfully fostering positive relationships with the
schools’ students, teachers, administratorsl as well as Phi|ade|phia School District police officers

On or about May 17. 2017, C|aimant and her partner jointly sent a memorandum ("Memorandum") to
Commanding thcer to inform him of their concems regarding unfair and discriminatory employment practices,
including inappropriate and harassing behavior that C|aimant and her partner have suffered at the hands of
several white male officers and supervisors C|aimant copied the Guardian Civic League on the Memorandum and
requested that there be a fair and swift resolution to the unjust treatment they have endured. The subject line of
the Memorandum reads as follows: “D|SPAR|TY OF TREATMENT OF AFR|CAN

AN|ER|CAN FEMALES."

 

 

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B. Res ondonts

1. Respondent, City of Philadelphia. doing business as the Phi|ade|phia Police
Department ("PFD"). is a municipality, duly organized and existing under the laws of the
Commonwea|th of Pennsylvania. with an address for service at the above captioned address.

2. Respondent. Anthony Gina|di, is a white male adult individual who, at all times
material herein, was employed as a Captain and Commanding Oflicer for the 39th District of the
PPD. Respondent is sued both individually and in his official capacity.

3. Respondents, .lohn Does 1-10, is a monikerllictitious name for individuals and
entities currently unknown but will be substituted when known, as aftiliated, associated or liable
hereunder for the reasons set forth below or intend therefrom Each of these parties are
incorporated as Respondents in each and every count and averment listed above and belaw.

C. Sta‘ll.lhs Violaf€d

1f CN|L RlGl-lTS VlOLATlON-42 l.l.S.C. § 1983-RETAL|AT|0N FQR ENGAG|NG lN
PROTECTED ACTN|TV, HQSTlLE WORK ENV|RONMENT, AND DlSCRlMlNAT|ON ON
THE BAS|S OF GENDER AND RACE - Respondents took the aforementioned adverse actions
against C|aimant in retaliation to Claimant's Memorandum and complaints of gender and racial
discrimination, which subjemd C|aimant to the above referenced discriminatory, hostile and
intimidating environment to severe degree that there is a crisis of gender and racial
discrimination in the 39th District. As a result of Respondentsl actions as aforesaid,
Respondents have denied C|aimant the right to the same terms, conditions, privileges and
benetits of her employment agreement with the City of Philadelphia Police Department, in
violation of 42 U.S.C. § 1981. Such violation of 42 U.S.C. § 1981 is actionable against the City
of Phi|ade|phia, a municipal entity, pursuantto 42 U.S.C. § 1983.

2. 'l'ilie Vll - Title Vll of the Civil Rights act prohibits employers from discrimination against
employees on the basis of including but not limited to sexl race. color and national origin. By
committing the foregoing acts of discrimination against C|aimant, Respondents have violated
Title Vll.

3. Pennsylvania Human Relations Act (PHRA) Vio|ation- Race Discrlmination - The PHRA
prohibits certain practices of discrimination on the basis of including but not limited to race,
oolor, ancestry or national origin. Respondents’, by the above improper and retaliatory acts,
have violated the PHRA.

4. Phi|ade|phia Fair Practices Ordinance (PFPO) Violation - The PFPO prohibits certain
practices of discrimination on the basis of including but not limited to racel colorl ancestry or
national origin Respondents’, by the above improper and retaliatory acts, have violated the
PFPO.

 

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